Case 8:14-cr-00437-JSM-E_J Document 89 Filed 04/06/15 Page 1 of 2 PageID 476




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


  UNITED STATES OF AMERICA

  v.                                                Case No. 8:14-cr-437-T-30EAJ

  KELSEY RYAN HARPER


                         FORFEITURE MONEY JUDGMENT

         Before the Court is the United States’ Motion for a Forfeiture Money

  Judgment (Doc. 84), pursuant to 21 U.S.C. § 853(a) and Rule 32.2(b)(2), Federal

  Rules of Criminal Procedure, against defendant Kelsey Ryan Harper in the amount

  of $1,500,000, representing the amount of proceeds obtained as a result of the

  conspiracy distribute and to possess with intent to distribute 100 kilograms or more

  of marijuana, in violation of 21 U.S.C. §§ 841, 846 and 841(b)(1)(B)(vii), as charged

  in Count One of the Indictment.

         Harper pleaded guilty to Count One, and the Court accepted his plea

  adjudged him guilty.    The United States has established that the amount of

  proceeds obtained as a result of the conspiracy is $1,500,000.

         Accordingly, the motion (Doc. 84) of the United States is GRANTED.

  Pursuant to 21 U.S.C. § 853(a) and Rule 32.2(b)(2), Harper is granted a money

  judgment in the amount of $1,500,000, for all of which let execution issue.

         Jurisdiction is retained to the extent necessary to complete the forfeiture

  and disposition of any assets belonging to the defendant that the United States is
Case 8:14-cr-00437-JSM-E_J Document 89 Filed 04/06/15 Page 2 of 2 PageID 477




  entitled to forfeit under 21 U.S.C. § 853(p) in satisfaction of the defendant’s

  $1,500,000 forfeiture money judgment.

           DONE AND ORDERED in Tampa, Florida, on April 6th, 2015.




  Copies furnished to:
  Counsel/Parties of Record
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